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  In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 24-1738V



 VERDIE ATIENZA,                                            Chief Special Master Corcoran

                        Petitioner,                         Filed: June 6, 2025
 v.

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                       Respondent.


Peter Anderson, Rawls Law Group, Richmond, VA, for Petitioner.

Sarah Christina Duncan, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT 1

       On October 24, 2024, Verdie Atienza (“Petitioner”) filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2
(the “Vaccine Act”). Petitioner alleges that he suffered from a shoulder injury related to
vaccine administration (“SIRVA”) as a result of receiving an influenza (“flu”) vaccination
on November 22, 2023. Pet., ECF No. 1. Petitioner further alleges that he suffered the
residual effects of his injury for more than six months. Id. The case was assigned to the
Special Processing Unit of the Office of Special Masters.

       On June 5, 2025, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1,
ECF No. 15. Specifically, Respondent indicated that “[P]etitioner’s alleged injury is
1 Because this Ruling contains a reasoned explanation for the action taken in this case, it must be made

publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or
at https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2018).
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consistent with SIRVA as defined by the Vaccine Injury Table.” Id. at 4. Respondent does
not dispute that Petitioner “has satisfied all legal prerequisites for compensation under
the Act.” Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

     IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master




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